       Case 1:23-cv-10628-JGLC             Document 17        Filed 12/11/23       Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JANE DOE,                                                       :
                                                                : Civil Case No.: 1:23-cv-10628 (JGLC)
                                    Plaintiff,                  :
                                                                :     [PROPOSED] ORDER
                  v.                                            :
                                                                :
SEAN COMBS; HARVE PIERRE; THE THIRD                             :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                  :
HOLDINGS, INC.,                                                 :
                                                                :
                                    Defendants.                 :
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        Upon good cause shown, the request of Plaintiff to proceed using the pseudonym “Jane

Doe” is GRANTED.


Date: __________, 2023
                                                        _______________________________
                                                              Hon. Jessica GL Clarke,
                                                              U.S. District Judge
